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                                                       A PROFESSIONAL CORPORATION
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                                                   5   FAX: 916.927.3706
                                                   6
                                                       Attorneys for Defendant COUNTY OF HUMBOLDT
                                                   7
                                                   8                                   UNITED STATES DISTRICT COURT
                                                   9                              NORTHERN DISTRICT OF CALIFORNIA
                                                  10
                                                  11     TRINITY WILLIAMS, individually,                   CASE NO.: 3:19-cv-01330-MMC
                                                  12                     Plaintiffs,                       JOINT STIPULATION TO MODIFY PRE-
                 350 University Ave., Suite 200




                                                  13     v.                                                TRIAL SCHEDULING ORDER AND
                    Sacramento, CA 95825




                                                                                                           [PROPOSED] ORDER
PORTER | SCOTT



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                                                  14     COUNTY OF HUMBOLDT and DOES 1
                                                         through 50,
                                                  15
                                                  16                     Defendants.
                                                                                                           Complaint filed: 1/31/2019
                                                  17    ______________________________________/
                                                  18
                                                  19           This Stipulation is entered into by and between Plaintiff TRINITY WILLIAMS (“Plaintiff”)
                                                  20   and Defendant COUNTY OF HUMBOLDT (“Defendant”) (collectively, “The Parties”) by and
                                                  21   through their respective counsel. The Parties enter into this stipulation and proposed order in
                                                  22   compliance with the Federal Rule of Civil Procedure 16(b) and the requirements of the scheduling
                                                  23   order. The parties request to continue non-expert and expert discovery deadlines by approximately
                                                  24   three months.
                                                  25           WHEREAS, trial in this matter is set for May 17, 2021;
                                                  26           WHEREAS, the parties participated in a Settlement Conference before Hon. Laurel Beeler
                                                  27   on August 16, 2019. The Parties were unable to resolve the matter;
                                                  28           WHEREAS, as a result of the Settlement Conference, Defendant agreed to produce

                                                       {02148264.DOCX}                                 1
                                                              JOINT STIPULATION TO MODIFY PRE-TRIAL SCHEDULING ORDER AND
                                                                                    [PROPOSED] ORDER
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                                                   1   voluminous file materials to Plaintiff. The Parties further agreed to refrain from noticing depositions
                                                   2   of Plaintiff and third-party witnesses until production of relevant documents by the Defendant;
                                                   3           WHEREAS, on September 4, 2019, Defendant produced approximately 6,000 documents to
                                                   4   Plaintiff;
                                                   5           WHEREAS, on September 16, 2019, Defendant produced approximately 4,000 additional
                                                   6   documents to Plaintiff;
                                                   7           WHEREAS, in response to concerns expressed by Plaintiff via meet and confer that
                                                   8   Defendant has not produced significant tranches of responsive documents in its possession,
                                                   9   Defendant is in the process of producing additional voluminous documents to Plaintiff;
                                                  10           WHEREAS, the parties have been participating in non-expert discovery, including the
                                                  11   exchange of several sets of written discovery. The parties intend to engage in further discovery,
                                                  12   including additional written discovery, depositions and third-party subpoenas;
                 350 University Ave., Suite 200




                                                  13           WHEREAS, the Parties have not yet conducted any depositions in this matter;
                    Sacramento, CA 95825
PORTER | SCOTT



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                      TEL: 916.929.1481




                                                  14           WHEREAS, the Parties have met and conferred and propose the following scheduling
                                                  15   amendments:
                                                  16           Non-expert Discovery Cutoff: August 1, 2020
                                                  17           Designation of Experts Plaintiff/Defendant: September 10, 2020
                                                  18           Designation of Rebuttal Experts: October 8, 2020
                                                  19           Expert Discovery Cutoff: November 12, 2020
                                                  20           Dispositive Motion: December 16, 2020
                                                  21           Dispositive Motion Hearing Date: January 22, 2020
                                                  22           The Parties submit that good cause exists to continue the above deadlines to allow the parties
                                                  23   to complete voluminous document productions and complete the deposition of Plaintiff and third
                                                  24   party witnesses.
                                                  25   ///
                                                  26   ///
                                                  27   ///
                                                  28   ///

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                                                             JOINT STIPULATION TO MODIFY PRE-TRIAL SCHEDULING ORDER AND
                                                                                   [PROPOSED] ORDER
                                                          Case 3:19-cv-01330-MMC Document 30 Filed 02/04/20 Page 3 of 3



                                                   1   IT IS SO STIPULATED.
                                                   2
                                                   3   Dated: February 4, 2020                    PORTER SCOTT
                                                                                                  A PROFESSIONAL CORPORATION
                                                   4
                                                   5                                              By /s/ David R. Norton

                                                   6                                                       Stephen E. Horan
                                                                                                           John R. Whitefleet
                                                   7                                                       David R. Norton
                                                   8                                                       Attorneys for Defendant
                                                                                                           COUNTY OF HUMBOLDT
                                                   9
                                                  10
                                                       Dated: February 4, 2020                    BRAGG, MAINZER & FIRPO, LLP
                                                  11
                                                                                                  By /s/ Benjamin H. Mainzer (authorized on February 4, 2020)
                                                  12
                                                                                                           Benjamin H. Mainzer
                 350 University Ave., Suite 200




                                                  13                                                       Attorney for Plaintiff TRINITY WILLIAMS
                    Sacramento, CA 95825
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                                                  14
                                                  15
                                                  16                                              ORDER

                                                  17           Non-expert Discovery Cutoff: August 1, 2020
                                                  18           Designation of Experts Plaintiff/Defendant: September 10, 2020
                                                  19           Designation of Rebuttal Experts: October 8, 2020
                                                  20           Expert Discovery Cutoff: November 12, 2020
                                                  21           Dispositive Motion: December 16, 2020
                                                  22           Dispositive Motion Hearing Date: January 22, 2020
                                                  23
                                                       IT IS SO ORDERED.
                                                  24
                                                  25   DATED:            ____________________, 2020

                                                  26
                                                  27                                                       _________________________________
                                                  28                                                       UNITED STATES DISTRICT JUDGE


                                                       {02148264.DOCX}                                 3
                                                             JOINT STIPULATION TO MODIFY PRE-TRIAL SCHEDULING ORDER AND
                                                                                   [PROPOSED] ORDER
